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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     Todd Allen Willman                                                         CHAPTERl3
     Wendy Sue Willman
                                        Debtors

     PENNSYLVANIA HOUSING FINANCE
     AGENCY                                                                    NO. 1 7-16590 PMM
                           Secured Creditor
               vs.

     Todd Allen Willman
     Wendy Sue Willman
                                        Debtors

     Scott F. Waterman, Esquire
                                        Trustee

                                        AMENDED STIPULATION

               AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

                I.      The post-petition arrearage on the mortgage held by the Movant on the Debtor's

     residence is $11,867.16 which breaks down as follows;

          Post-Petition Payments:           June 2019 to September 2019 at $1,390.00/month
                                            October 2019 to February 2020 at $1,378.00/month
          Suspense Balance:                 $1, 019.15
          Late Charges:                     $401.31
          NSF Fee:                          $35.00
          Total Post-Petition Arrears       $] J,867.16

     2.        The Debtor shall cure said arrearages in the following manner:

                        a). Within seven (7) days of the filing of this Stipulation, Debtor shall file an

     Amended Chapter 13 Plan to include the post-petition arrears of$11,867.16.

                        b). Movant shall file an Amended or Supplemental Proof of Claim to include the

     post-petition arrears ofSll,867.16 along with the pre-petition arrears;

                        c). The new 410A fonn for a Proof of Claim shall not be required for this Amended

     or Supplemental Proof of Claim.

               3.       Beginning with the payment due March 1, 2020 and continuing thereafter, Debtor

     shall pay to Movant the present regular monthly mortgage payment of $1,378.00 ( or as adjusted

     pursuant to the tenns of the mortgage) on or before the first (1st) day of each month (with late charges

     being assessed after the 15th of the month).
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      Approved by the Court this __ day of _________. 2020. However, the court
      retains discretion regarding entry of any further order.

      Date: March 19, 2020
                                            Bankruptcy Judge
                                            Patricia M. Mayer
